
Laverty and Gantley merchants and partners, brought their action of debt in the Superior Court of Henrico County, on a protested inland bill of exchange, against “John C. Walker, of the firm of Walker &amp; Co.” a citizen and inhabitant of the said County; charging in the declaration, that the bill was drawn by the said Walker &amp; Co. on the 26th day of March 1816, at New-York, “to wit, at Henrico aforesaid, and within the Jurisdiction of the Court,” according to the use and custom of Merchants, (the name of the said Walker &amp; Co., by the hand of the said John C. Walker, one of the partners as aforesaid, being thereto subscribed,) for the sum of $343 88, value received; that the plaintiffs presented the said Bill to Messrs. Coe &amp; Marsh, the drawees, at New-York, on the day of , in the year aforesaid, and requested them to pay it, which they refused to do; whereupon it was protested by a Notary Public for the City of New-York, on the 30th of September 1816; of which the said Walker &amp; Co. then and there, to wit, at Henrico aforesaid, had notice; whereby, and by virtue of the Act of Assembly in such case made and provided, action accrued, &amp;c. against the said Walker &amp; Co., &amp;c., in the usual form of a declaration against a mercantile company.
The defendant pleaded nil debet.
On the trial, he required proof of notice of protest for non-payment of the bill, whereupon the plaintiff introduced a witness, who proved that he applied to the defendant *John C. Walker for payment of the said bill; that the defendant acknowledged that the debt was a just one, and said he would pay it; and that nothing was said in that conversation as to his receiving notice or not. The defendant thereupon moved the Court to instruct the Jury, that, unless the said acknowledgment was made «with a knowledge of all the facts of the case as to the laches of the holders of the said bill, the said evidence of the acknowledgment was not to be received; which opinion the Court refused to give, and instructed the Jury that such acknowledgment was a waiver of all *819notice. — The defendant filed a bill of exceptions; and, a verdict and judgment being rendered against him, he obtained a Supersedeas from a Judge of this Court; contending, in his petition, that the Superior Court erred in not giving the instruction to the Jury requested by him; and referring to Blesard v. Hirst, 5 Burr. 2672; Goodall &amp; others v. Dolley, 1 Term. Rep. 712; and 12 East 38.
After argument by Bacchus for the plaintiff in error, and Upshur contra, the Court affirmed the Judgment.
